DOCUMENTS UNDER SEAL
                    Case 4:23-cr-00269-AMO Document 16 Filed 08/22/23 Page 111ofmins.
                                                         TOTAL TIME (m ins):
                                                                                 1
M AGISTRATE JUDGE                          DEPUTY CLERK                             /,%(57<',*,7$/5(&25',1*
M INUTE ORDER   $0(1'('                   Ivy Lerma Garcia                          11:35-11:46
&+,()MAGISTRATE JUDGE                     DATE                                     NEW CASE            CASE NUMBER
DONNA M. RYU                              8/22/23                                                      4:23-cr-00269-AMO-2
                                                       APPEARANCES
DEFENDANT                                  AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                       PD.       RET.
ERIC ALLEN ROMBOUGH                                  NO       P      Patrick Delahunty (Spec. Appear.)         APPT.
U.S. ATTORNEY                              INTERPRETER                             FIN. AFFT                 COUNSEL APPT'D
Alethea Sargent                                                                    SUBMITTED

PROBATION 2)),&(5          PRETRIAL SERVICES OFFICER    DEF ELIGIBLE FOR       PARTIAL PAYMENT
                             Shafia Khanoon               APPT'D COUNSEL         OF CJA FEES
                                        352&((',1*66&+('8/('722&&85
       INITIAL APPEAR               PRELIM HRG    MOTION            JUGM'T & SENTG       67$786

       I.D. COUNSEL                 ARRAIGNMENT             %21'+5*%21'          IA REV 21S/R                 OTHER
                                                          6,*1,1*2)685(7<
                                                            +(/'PLQV
       '(7(17,21+5*              ID / REMOV HRG          CHANGE PLEA             PROB. REVOC.                   ATTY APPT
                                                                                                                   HEARING
                                                     INITIAL APPEARANCE
        ADVISED                 ADVISED                    NAME AS CHARGED            TRUE NAME:
        OF RIGHTS               OF CHARGES                 IS TRUE NAME
                                                          ARRAIGNM ENT
       ARRAIGNED ON                 ARRAIGNED ON              READING W AIVED              W AIVER OF INDICTMENT FILED
       INFORMATION                  INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED        AMT OF SECURITY              SPECIAL NOTES                 PASSPORT
      ON O/R            APPEARANCE BOND          $                                                          SURRENDERED
                  6(&85(' 02',),('%<6,*1,1*2)685(7<                                                     DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $                                                                       2)&$66,'<520%28*+5RFNYLOOH5RDG
                                                                                    )DLUILHOG&$SURSHUW\SRVWLQJH[WHQGHGIURP
                                                                                    WR
      MOTION            PRETRIAL               DETAINED           RELEASED        DETENTION HEARING                REMANDED
      FOR               SERVICES                                                  AND FORMAL FINDINGS               TO CUSTODY
      DETENTION         REPORT                                                    :$,9('
ORDER REMOVED TO THE DISTRICT OF
                                                             PLEA
    CONSENT                     NOT GUILTY                  GUILTY                   GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT           OTHER:
    REPORT ORDERED                                          FILED
                                                          CONTINUANCE
TO:                            ATTY APPT                    %21'                   STATUS RE:                   STATUS
8/31/23 (Already set)        HEARING 35,9$7(               +($5,1*                CONSENT                      TRIAL SET

AT:                                SUBMIT FINAN.            67$7865(         CHANGE OF                    OTHER
                                   AFFIDAVIT                35(/,0+5*
                                                                               PLEA
10:30 a.m.                                                  $55$,*10(17
                                                            BBBBBBBBBBBBB
BEFORE HON.                        DETENTION                $55$,*1MENT             MOTIONS                     JUDGMENT &
                                   HEARING                                                                      SENTENCING
D. M. RYU
       TIME WAIVED               TIME EXCLUDABLE           IDENTITY /            PRETRIAL                     67$78621
                                   UNDER 18 § USC           REMOVAL               CONFERENCE                   3(1',1*683
                                   3161                    HEARING                                            5(/9,2/6
                                                 ADDITIONAL PROCEEDINGS
Given the info. from the Govt's Counsel that the last Co-deft. Devon Wegner has appeared on a Rule 5 in the Dist. of Hawaii on
8/21/23, the court granted the Govt's motion to unseal this entire case. Court informed Cassidy Rombough (Deft's Significant
Other) re: her rights & obligations, and she agreed to sign the Bond as a Surety/Co-signer and to post her property to secure
WKH'HIW V%DLOE\
